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     EXHIBIT 12
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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


In re Johnson & Johnson Talcum Powder
Products Marketing, Sales Practices and
Products Liability Litigation                          MDL Docket No. 2738

                        DECLARATION OF DAVID MEISELS

      I, David Meisels, declare as follows:

      1.        I submit this declaration in connection with the subpoena served on

FIG LLC by Johnson and Johnson and LLT Management LLC in connection with

the above-referenced matter.

      2.        I am a Managing Director and Head of Litigation for Fortress

Investment Group LLC (“Fortress”). The facts stated herein are true based on my

personal knowledge or information and belief.

      3.        Neither Fortress nor any Fortress managed fund has provided any

financing to the Beasley Allen law firm (Beasley, Allen, Crow, Methvin, Portis &

Miles, P.C.).

      4.        Certain Fortress managed funds previously invested in a loan to Smith

Law Firm, PLLC, the law firm in which Allen Smith is a partner. However, those

funds fully exited that investment over three years ago, and in the period since that

exit, neither Fortress nor any Fortress managed fund has provided any financing to

Smith Law Firm, PLLC. Upon information and belief, Ellington Management
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Group (or affiliates) participated in a transaction with the Smith Law Firm, PLLC,

which resulted in the repayment of the loan that certain Fortress funds previously

invested in.

      5.       The amount of the loan to Smith Law Firm, PLLC, that certain

Fortress managed funds previously invested in was $24,000,000.

      I declare under penalty of perjury under the laws of the United States of

America that the foregoing statements are true and correct to my personal

knowledge.



      Executed on May 20, 2024 in New York, New York.



                                              _____________________
                                              David Meisels




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